           Case 1:10-cr-00417-AWI Document 250 Filed 02/12/13 Page 1 of 2


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11
12               IN THE UNITED STATES DISTRICT COURT FOR THE
13                      EASTERN DISTRICT OF CALIFORNIA
14
15   UNITED STATES OF AMERICA,     )      CR. No. 1:10-cr-00417-AWI
                                   )
16                     Plaintiff,  )      STIPULATION AND ORDER TO
                                   )      CONTINUE STATUS CONFERENCE
17             v.                  )      AND EXCLUDE TIME
                                   )
18   CHRISTOPHER COLEMAN,          )
     PAUL VAN DALEN,               )
19   SEAN PLYMALE, and             )
     MICHAEL MANFREDI,             )
20                                 )
                                   )
21                     Defendants. )
                                   )
22
23        The parties request that the status conference in this case
24   be continued from February 19, 2013 to March 18, 2013 at
25   1:30p.m..   They stipulate that the time between February 19, 2013
26   and March 18, 2013 should be excluded from the calculation of
27   time under the Speedy Trial Act.      The parties stipulate that the
28   ends of justice are served by the Court excluding such time, so
              Case 1:10-cr-00417-AWI Document 250 Filed 02/12/13 Page 2 of 2


 1   that counsel may have reasonable time necessary for effective
 2   consideration of how to proceed with the case following the
 3   recent mistrial following a five-week jury trial and to allow for
 4   possible plea negotiations, taking into account the exercise of
 5   due diligence.       18 U.S.C. § 3161(h)(7)(B)(iv).       The parties
 6   stipulate and agree that the interests of justice served by
 7   granting this continuance outweigh the best interests of the
 8   public and the defendant in a speedy trial.           18 U.S.C. §
 9   3161(h)(7)(A).
10         Respectfully submitted,                     February 11, 2013
11         BENJAMIN B. WAGNER                          THOMAS E. PEREZ
           United States Attorney                      Assistant Attorney General
12
     By:   /s/ Elana S. Landau                   By:   /s/ Jared Fishman
13         ELANA S. LANDAU                             Jared Fishman
           Assistant U.S. Attorney                     Trial Attorney
14
15         /s/ Paul Q. Goyette                         /s/ Harry S. Stern
           PAUL A. GOYETTE                             HARRY S. STERN
16         Attorney for Defendant                      Attorney for Defendant
           Christopher Coleman                         Paul Van Dalen
17
18         /s/ E. Marshall Hodgkins                    /s/ W. Scott Quinlan
           E. MARSHALL HODGKINS                        W. SCOTT QUINLAN
19         Attorney for Defendant                      Attorney for Defendant
           Sean Plymale                                Michael Manfredi
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22   IT IS SO ORDERED.
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     Dated:   February 12, 2013
24   0m8i78                                        SENIOR DISTRICT JUDGE
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